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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CENTRAL LABORERS’ PENSION FUND,                             )
NORTH CENTRAL ILLINOIS LABORERS’ WELFARE FUND,              )
NORTHERN ILLINOIS LABORERS’ WELFARE FUND,                   )
NORTHERN ILLINOIS LABORERS’ ANNUITY FUND,                   )
ILLINOIS LABORERS AND CONTRACTORS JOINT                     )
 APPRENTICESHIP & TRAINING TRUST FUND,                      )
NORTH CENTRAL LABORERS-EMPLOYERS                            )
 COOPERATION AND EDUCATION TRUST,                           )
NORTH CENTRAL MIDWEST REGION FOUNDATION                     )
 FOR FAIR CONTRACTING,                                      )
MIDWEST REGION ORGANIZATION COMMITTEE,                      )
NORTH CENTRAL LABORERS’ DUES CHECK OFF FUND,                )
and the GREAT PLAINS LABORERS’ DISTRICT                     )
 COUNCIL WORKING DUES CHECK OFF FUND                        )
                                                            )
                            Plaintiffs,                     )
      v.                                                    )       25-Cv-7975
                                                            )
BERGER EXCAVATING CONTRACTORS, INC.,                        )       Judge: __________
an Illinois corporation, and                                )
JULIE BERGER-CHAMBERLIN, individually,                      )       Magistrate Judge:__________
                                                            )
                            Defendant(s).                   )


                                          COMPLAINT

      Plaintiffs Central Laborers’ Pension Fund, et al. (collectively “Plaintiff Funds”), by their

attorneys, for their complaint, complain against Defendants BERGER EXCAVATING

CONTRACTORS, INC. and JULIE BERGER-CHAMBERLIN, as follows:

                                            COUNT I
                                             against
                        BERGER EXCAVATING CONTRACTORS, INC.
              (Claim under ERISA for delinquent employee fringe benefit contributions)

      1.     This action arises under the Employee Retirement Income Security Act of 1974, as

amended, 29 U.S.C. §§ 1132, 1145 (“ERISA”); the Labor Management Relations Act, as amended,

29 U.S.C. § 185(a) (“LMRA”); 28 U.S.C. § 1331; and federal common law.

      2.     Plaintiff Funds are multiemployer pension funds, welfare funds, apprentice funds,

labor-management committees, and related funds established pursuant to collective bargaining
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agreements between, on the one hand, the Laborers International Union of North America (the

“Union”) and local unions and district councils affiliated with the Union, and, on the other hand,

certain employers and employer associations. The Union and its affiliated local unions and district

councils are labor organizations within the meaning of the LMRA, 29 U.S.C. § 152(5), representing

employees in an industry affecting commerce as defined by the LMRA, 29 U.S.C. § 185(a).

       3.      Plaintiff Funds receive fringe benefit contributions and dues payments from certain

employers pursuant to collective bargaining agreements between, on the one hand, the Union and

district councils and local unions affiliated with the Union, and, on the other hand, certain employer

associations and employers, all on behalf of employees covered by the collective bargaining

agreements. The Plaintiff Funds’ right to receive fringe benefit contributions and dues payments also

arises pursuant to participation agreements between the Plaintiff Funds and employers.

       4.      Plaintiff Central Laborers’ Pension Fund is the authorized collection agent for the

other Plaintiff Funds with respect to fringe benefit contributions and dues payments.

       5.      BERGER EXCAVATING CONTRACTORS, INC. is an Illinois corporation doing

business in (and with its principal place of business in) the Northern District of Illinois. Venue in this

district is proper under ERISA, 29 U.S.C. § 1132(e)(2); and 28 U.S.C. § 1391(b). BERGER

EXCAVATING CONTRACTORS, INC. is an “employer” and a “party-in-interest” as those terms

are defined by, respectively, Sections 3(5) and 3(14)(C) of ERISA, 29 U.S.C. §§ 1002(5) and

1002(14)(C).

       6.      BERGER EXCAVATING CONTRACTORS, INC. became a party to and bound by

collective bargaining agreements with the Union (and/or one or more district councils and local

unions affiliated with the Union) by virtue of its execution of one or more memorandum of agreement

or other collective bargaining agreements. Copies of signature pages of one or more such collective




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bargaining agreements are attached as Exhibit A. No party has terminated the collective bargaining

agreements and they remain in effect.

       7.      By virtue of certain provisions contained in the collective bargaining agreement(s),

BERGER EXCAVATING CONTRACTORS, INC. became a party to and bound by the Plaintiff

Funds’ trust agreements.

       8.      BERGER EXCAVATING CONTRACTORS, INC. became a party to and bound by

one or more participation agreements with the Plaintiff Funds. Copies of signature pages of one or

more such participation agreements are attached as Exhibit B. No party has terminated the collective

bargaining agreements and they remain in effect.

       9.      By virtue of certain provisions contained in the participation agreement(s), BERGER

EXCAVATING CONTRACTORS, INC. became a party to and bound by the Plaintiff Funds’ trust

agreements.

       10.     BERGER EXCAVATING CONTRACTORS, INC. became a party to and bound by

the collective bargaining agreements, participation agreements, and trust agreements by virtue of its

signing and submitting (and certain provisions contained in) employer contribution report forms to

the Plaintiff Funds.

       11.     BERGER EXCAVATING CONTRACTORS, INC. became a party to and bound by

the collective bargaining agreements, participation agreements, and trust agreements by virtue of its

withholding of (some but not all) payroll deductions and dues consistent with the collective

bargaining agreements, participation agreements, and trust agreements.

       12.     BERGER EXCAVATING CONTRACTORS, INC. became a party to and bound by

the collective bargaining agreements, participation agreements, and trust agreements by making

(some but not all) employee fringe benefit contributions and dues payments to the Plaintiff Funds.




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       13.     Under the terms of the collective bargaining agreements, participation agreements, and

trust agreements, BERGER EXCAVATING CONTRACTORS, INC. is required to make fringe

benefit contributions and dues payments to the Plaintiff Funds on behalf of employees performing

work covered by the collective bargaining agreement; the contributions and dues are required to be

at the hourly rates indicated in the collective bargaining agreement and participation agreements.

Under the terms of the agreements, BERGER EXCAVATING CONTRACTORS, INC. is also

required to submit monthly remittance reports identifying, among other things, the employees covered

under the collective bargaining agreement and the amount of contributions and dues to be remitted

on behalf of each covered employee.

       14.     The    Plaintiff   Funds    conducted      an    audit    of    BERGER     EXCAVATING

CONTRACTORS, INC. for the period November 1, 2021 through October 31, 2022. A copy of that

audit is attached as Exhibit C. The audit indicated that BERGER EXCAVATING CONTRACTORS,

INC. failed and refused to pay all contributions and work dues in accordance with the provisions of

the collective bargaining agreements, participation agreements, and trust agreements. The unpaid

amounts, as adjusted for successful audit challenges, total not less than the following:

       Audit Liabilities (11/01/2021 – 10/31/2022):                     $436,468.31
       Less Pension contributions removed from audit:                    ($76,028.40)
       Less Pension Supplement contributions removed from audit:        ($100,948.82)
       Less NC Welfare contributions removed from audit:                 ($89,755.75)
       Less NI Welfare contributions removed from audit:                  ($8,975.93)
       Less Working Dues deductions removed from audit:                  ($22,639.41)
       Less credit for Robert Jackowiak removed from audit:                   ($131.84)

                                                               Total: $137,988.16




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       15.     The participation agreements and trust agreements provide for a penalty assessment

equal to 10% of the contributions unpaid on the 15th day of the month following the month for which

the contributions are due. ERISA additionally provides, in 29 U.S.C. § 1132(g)(2)(C), that upon

recovery of unpaid benefit contributions by a fiduciary of a benefit plan, “the court shall award the

plan…liquidated damages provided for under the plan in an amount not in excess of 20 percent.”

       16.     Because contributions were not paid when due, BERGER EXCAVATING

CONTRACTORS, INC. incurred 10% penalty assessments in accordance with the participation

agreements and trust agreements totaling not less than the following:

       Assessment for Audit Liabilities (11/01/2021 – 10/31/2022):         $13,798.16     (see ¶ 14)
                                                          Total:          $13,798.16

       17.     Audit costs, for which BERGER EXCAVATING CONTRACTORS, INC. is liable in

accordance with the trust agreements, total not less than $4,297.90. A copy of the auditor’s invoice,

which has been paid in full, is attached as Exhibit D.

       18.     The total amount owed by BERGER EXCAVATING CONTRACTORS, INC. to

plaintiffs is not less than $156,084.88, consisting of: not less than $137,988.16 in audited

delinquencies (reference ¶ 14 above), $13,798.82 in late payment penalty assessments (reference ¶ 16

above), and $4,297.90 in audit costs (reference ¶ 17 above).

       19.     BERGER EXCAVATING CONTRACTORS, INC. has failed and refused to pay the

amount of $156,084.88 known to be due to Plaintiffs.

       20.     Plaintiffs have been required to employ the undersigned attorneys to identify and

pursue collection of the amount due from BERGER EXCAVATING CONTRACTORS, INC.




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        21.       ERISA provides, in 29 U.S.C. § 1132(g)(2)(D), that upon recovery of unpaid benefit

contributions by a fiduciary of a benefit plan, “the court shall award the plan…reasonable attorney’s

fees and costs of the action, to be paid by the defendant.” The participation agreements and trust

agreements also provide that employers who become delinquent in making fringe benefit

contributions are liable to the Plaintiff Funds for the cost of an audit and attorney’s fees and costs.

        22.       ERISA provides, 29 U.S.C. § 1132(g)(2)(B), that upon recovery of unpaid benefit

contributions by a fiduciary of a benefit plan, “the court shall award the plan…interest on the unpaid

contributions.”

        WHEREFORE, Plaintiffs respectfully request that this Court:

        A.        Enter judgment against BERGER EXCAVATING CONTRACTORS, INC. in favor

of Plaintiffs.

        B.        Order BERGER EXCAVATING CONTRACTORS, INC. to pay Plaintiffs not less

than $156,084.88.

        C.        Order BERGER EXCAVATING CONTRACTORS, INC. to pay interest, costs, and

reasonable attorney’s fees to Plaintiffs pursuant to 29 U.S.C. § 1132(g)(2).

        D.         Order BERGER EXCAVATING CONTRACTORS, INC. to perform and continue to

perform all obligations it has undertaken with respect to the Plaintiff Funds.

        E.         Grant Plaintiffs such other and further relief as may be just.

                                                 COUNT II
                                                    against
                                     JULIE BERGER-CHAMBERLIN

        1. – 22.          Plaintiffs reallege paragraphs 1 – 22 of Count I.

        23.       This Count arises from a common nucleus of operative facts with Count I and is

pendent to that count.



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                               Breach of Contract / Trust Agreements

       24.     Plaintiffs are advised and believe that JULIE BERGER-CHAMBERLIN is the

President, Secretary, and Chief Operating Officer of BERGER EXCAVATING CONTRACTORS,

INC. and is in control of the corporation. Further, Plaintiffs are advised and believe that JULIE

BERGER-CHAMBERLIN is a director of BERGER EXCAVATING CONTRACTORS, INC.

       25.     Pursuant to the collective bargaining agreements and participation agreements to

which BERGER EXCAVATING CONTRACTORS, INC. agreed to be bound, where there is any

willful violation of any of the requirements of the trust agreements, the officers and directors of the

employer shall be personally liable for any underpayment or other pecuniary loss to the Plaintiff

Funds as a result of such conduct.

       26.     Pursuant to the trust agreements establishing the Plaintiff Funds, to which BERGER

EXCAVATING CONTRACTORS, INC. and JULIE BERGER-CHAMBERLIN agreed to be bound,

where there is any willful violation of any of the requirements of the trust agreements, the officers

and directors of the employer who supervised the completion of report forms, signed report forms, or

can be determined to have had personal knowledge of such conduct, shall be personally liable for any

underpayment or other pecuniary loss to the Plaintiff Funds as a result of such conduct.

       27.     Plaintiffs are informed and believe that JULIE BERGER-CHAMBERLIN did so

supervise the completion of report forms, sign report forms, and had personal knowledge of the willful

violations of the requirements of the collective bargaining agreements, participation agreements, and

trust agreements, making JULIE BERGER-CHAMBERLIN personally liable for the money owed to

the Plaintiff Funds by BERGER EXCAVATING CONTRACTORS, INC.

       WHEREFORE, Plaintiffs respectfully request that this Court:

       A.      Enter judgment against JULIE BERGER-CHAMBERLIN in favor of Plaintiffs.




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       B.      Order JULIE BERGER-CHAMBERLIN to pay Plaintiffs $156,084.88, plus any

additional amount shown to be due.

       C.      Order JULIE BERGER-CHAMBERLIN to pay interest, costs, and reasonable

auditors’ and attorneys’ fees to Plaintiffs pursuant to 29 U.S.C. § 1132(g)(2).

       D.      Order JULIE BERGER-CHAMBERLIN to cause BERGER EXCAVATING

CONTRACTORS, INC. to perform and continue to perform all obligations it has undertaken with

respect to the Plaintiff Funds.

       E.      Grant Plaintiffs such other and further relief as may be just.



                                        Respectfully submitted,
                                        CENTRAL LABORERS’ PENSION FUND, et al.

                                  By:   /s/ Richard A. Toth
                                        One of their attorneys

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                                                            EXHIBIT B – PAGE 2
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